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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 21-CR-20087-ALTONAGA


  UNITED STATES OF AMERICA,


        Plaintiff,
  vs.
  DIANALIS MOLINA NODA
        Defendant.
  ________________________________/

            MOTION FOR CLARIFICATION OF COURT’S COVID-19
                        SAFETY PROTOCOLS

        Comes now, the defendant, DIANELIS MOLINA NODA, and hereby requests

  clarification and notice of what the Court’s COVID-19 safety protocols will be for the

  upcoming trial.

        In its Order denying the defendant’s Third Motion to Continue trial (DE 48),

  this Court wrote “trial is expected to last four days, and all safety precautions,

  including masking and social distancing, as well as use of Courtroom 11-4, one of two

  retrofitted COVID-19 ready courtrooms, will be employed.”

        The defense wants clarification as to what the phrase “all safety precautions”

  means. Specifically, the defense wants clarification as to what “masking” precautions

  will be utilized by the Court. Will everyone have to wear a mask at all times? Will

  witnesses be required to testify with their masks on? Will the attorneys be allowed to

  take off their masks when conducting their examinations or arguments? What are
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  the specific masking protocols the Court intends to require? Does the Court have clear

  facial masks for prospective jurors and witnesses to wear?

        In regards to social distancing, the defense requests the Court’s plan for

  adhering to social distancing. Is the Court going to require a six-foot distance between

  all parties at all times? How will the jury box be configured? Will the jurors be

  separated by six-feet? Where will the jurors deliberate and how large is that venue?

  Is the Court going to allow the attorneys to approach the witness table to hand

  exhibits to the witnesses? How is the Court going to conduct any necessary side bar

  conferences? Will the Court allow counsel breaks in order to consult with his client

  from a safe distance during trial?

        In regards to the phrase all safety precautions, the defense requests notice of

  whether the Court will allow unvaccinated jurors to sit in judgment of our client? Will

  the Court allow unvaccinated witnesses to testify at trial? Lastly, beyond masking

  and social distancing, are there other safety precautions the Court intends to utilize

  during the upcoming trial? If so, what are they?

        In regards to the inevitable COVID-19 exposure given the 14.15% positivity

  rate in Miami-Dade County, what are the Court’s rules if a participant in the trial

  (juror, witness, court personnel, attorneys, etc) tests positive for COVID-19 or has a

  close contact with someone who is positive during the trial? How often does the Court

  intend to ask the jurors and the parties about close contacts and positive test results?

  What are the Court’s rules if a participant in the trial has an elevated temperature

  reading when gaining entrance into the courthouse? What guidance will be given to
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  the jury about how to report a positive COVID-19 test or a close contact with someone

  positive? Will the jurors be given copies of the Court’s Notice Regarding Public Access

  (https://www.flsd.uscourts.gov/sites/flsd/files/NoticeRegardingPublicAccess.pdf).

        The defendant would like to be apprised of the Court’s safety guidelines prior

  to jury selection on August 19, 2021. The defendant requests these guidelines prior

  to trial so that she may file whatever appropriate challenges to them in a timely

  manner and not impede the trial itself.




                                            Respectfully submitted,

                                            MICHAEL CARUSO
                                            FEDERAL PUBLIC DEFENDER

                                   By:      /s/ Christian Dunham
                                            Assistant Federal Public Defender
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                           CERTIFICATE OF SERVICE
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        I HEREBY certify that on August 16, 2021, I electronically filed the

  foregoing document with the Clerk of the Court using CM/ECF. I also certify

  that the foregoing document is being served this day on all counsel of record or

  pro se parties identified in the manner specified, either via transmission of

  Notices of Electronic Filing generated by CM/ECF or in some other authorized

  manner for those counsel or parties who are not authorized to receive

  electronically Notices of Electronic Filing.



                                        /s/ Christian Dunham
